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                          The Office of Ulysses T. Ware                                IJSO.C. • Atlanta


                                          123 Linden Blvd., Ste 9-L
                                            Brooklyn, NY 11226
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                                               (718) 844-1260
                                                                                 B~EIMER, Clerk
                                           utware007@gmail .com

                                Saturday, March 22, 2025, 10:33:19 AM
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VIA PRIORITY U.S. MAIL

Office of the District Clerk
United States District Court
Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: Ware, eta/. v. Alpha Capital, AG, etal., Case No. 1:25-cv-00613-MLB (N.D. Ga.)
Submission of Judicial Pleadings: (17-8), (17-9), (17-10), and (17-11).

Dear Clerk of the District Court:

I, Ulysses T. Ware, attorney in fact for the Appellants in the above-captioned appellate matter,
hereby submit for immediate filing and docketing the enclosed judicial pleadings pursuant to the
Federal Rules of Civil Procedure and this Court's Standing Order, Dkt. 2, ,i (m). These pleadings
are submitted in support of Appellants' March 10, 2025 , pending Application for a Show Cause
Order and Request for an Appellate Status Conference (Dkt. 17-1) and related jurisdictional and
remedial relief.

The enclosed pleadings consist of the following submissions:

    1. (17-8) - Appellants' Renewed Application for an Appellate Status Conference and
       Supplemental Letter-Brief in Support of Article III Threshold Jurisdictional Review, dated
       March 18, 2025;
    2. (17-9) - Supplemental Memorandum of Law (#5) in further support of Appellants'
       Application for a Show Cause Order, filed March 19, 2025;
    3. (17-10) -Memorandum ofLaw (#6) regarding the Hobbs Act, RICO, and criminal liability
       of Kilpatrick Townsend & Stockton LLP (KTS) and its unregistered broker-dealer clients,
       submitted March 20, 2025;
    4. (17-11) - Supplemental Memorandum of Law (#7) in Support ofDkt. 12, Application for
       Show Cause Order and Other Reliefs.




Page 1 of 2
Saturday, March 22, 2025
(17-12) (Part 17-12) re: Clerk's Fil ing instructions
 These materials are submitted under oath pursuant to 28 U.S.C. § 1746, and as judicial pleadings
 protected under 18 U.S.C. § 207l(a)-(b), and are being transmitted via Priority Mail to ensure
 timely and complete receipt.

 Appellants respectfully request that these filings be entered without delay on the docket of the
 above-referenced case and that the Clerk's Office confirm docketing and provide acknowledgment
 of receipt.

 Should there be any questions or issues regarding processing, I may be reached at (718) 844-1260
 or via email at utware007@gmail.com.

 Thank you for your prompt attention to this matter.

~ ~ctfully submitt(Ji/4

~/k~.i r~                     ~
 Ulysses, attorney in fact for the Appellants
 Group Management (a sole proprietorship) and Ulysses T. Ware

 Enclosures:

       •   (17-8): Renewed Application for Status Conference
       •   (17-9): Supplemental Memo of Law (#5)
       •   (17-10): Supplemental Memo of Law (#6)
       •   (17-11): Supplemental Memo ofLaw (#7)

 cc:

       •   Executive Director, Administrative Office of the U.S. Courts
       •   Office of the FBI Director
       •   All Appellees (via email, where applicable)




 Page 2 of 2
 Saturday, March 22, 2025
 (17-12) (Part 17-12) re: Clerk's Filing instructions
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                18 USC§§ 2071(8), (b)judicial pleadln1
                     (17-8) (Part J7-8) (03.18.25)
                         Case No. 1:25-cv-00613-MLB
               lN THE UNITED STATES DISTRICT COURT
              FOR THE NORTllERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


In re:
GROUP MANAGEMENT CORP. (Debtor)+                                                                 1/s
03-93031 (BC NDGA), Chapter U


                                             On appeal ln:
ULYSSEST. WARE and d/b/a GROUP MANAGEMENT, (a sole proprietorsb.ip),
Appdlant.s,
v.
ALPHA CAPJTAL, AG, el al.l .Hobbs Act Predatory Unregistered Broker-Dealers,•
Appellees.


(Docket Text) March 1.8, 2025, (17-8) (Part 17-8) APPELLANTS' 28 USC §
1654 SUPPLEJ\,IENTAL LEITER-BRIEF (#4) IN SUPPORT OF (17-1)
MARCH 10, 2025, APPLICATION FOR ARTICLE Ill "THRESHOLD"
JURJSDICTIONAL SHOW CAUSE ORDER AND OTHER RELIEFS.

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utysses T. Ware, 28 USC§ 1654 Attorney-in-fact for Appellants. Oroup Management (a sole
proprietorship) and Ulysses T. Ware


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    Sec 2Scv006.l3 (NOGA) Dkt S-13 o.n pages 43-53.

Page 1of11
Tuesday, Mardi 18, 2025
{17-8} (Patt 17~8} re Ap-pe:llants' r:elie~ Application for an Artide UI JunsdictionaMppellate Status
Conf:erence and Other Reliefs.




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                                     (17-10)·-(Part 17-10)
                 Filed on March 20, 2025, 11 :06:51 AM
                   Case No. 25cv00613 (NDGA) (MLB)
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT O,F GEORGIA
                         ATLANTA DIVISION


Jn re:                                                                                                 4/S
GROUP MANAGEMENT CORP. (Debtor),

03-9303 J (BC NOGA), Chapte.r U


                                                 On appeal in:
ULYSSES T. WARE -a nd d/bla GROUP MANAGEMENT, (a sole proprietorship),
Appellants,
v.
ALPHA CAPITAL, AG, et al., Predat,,01 Unregistertd Broller-1Je11/crs,
Appellees.


[Docket Text] March 20, 2025, (17-10) (Part 17-9) APPELLANTS' 28
USC§ 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#6) IN
SUPPORT OF Dkt. 12, (17-1) MARCH 10, 2025, APPLICATION
FOR ARTICLE III "THRESHOLD" JURISDICTIONAL SHOW
CAUSE ORDER AND OTHER RELIEFS-THE HOBBS ACT
CRIMINAL LIABILITY AND CULPABILITY OF KTS, ET AL.
Respectfully submitted,
Isl VJysses T. Ware

J}J;/;.;;~~~
Page1of18
Thursday, March 20, 2025
(17-10) (part 17-10) re: Appellants' Supplemental Memorandum of law (lt6) re: Criminal liability and
culpability of KTS, Its clients, and their privies.




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                                 (t,-lt) (Part -17--11)
                 Filed on M·arch 21, 2025, 2:49:40 PM
                  Case No. 25cv00613 (NDGA) (MLB)
                IN THE UNITED STATES DISTRICT COURT
             'F OR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


In re:
GROUP MANAGEMENT CORP. (Debtor),

03-93031 (BC NOGA). Chapter U
                                                                               1,-,1
                                            On appeal In:
ULYSSES T. WARE and d/b/a GROUP MANAGEMENT, (a sole proprittonhip),
Appellants,

"·
ALPHA CAPITAL, AG, et al., Pre.tlatorv Unrnistertd Broker-Ota/ea,
Appellees.


fDocket Text] March 21, 2025, (17-ll) (Part 17'-ll) APPELLANTS'
28 use § 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#7)
IN SUPPORT OF Dkt.12, (17-l) MARCH 10, 2025,APPLICATION
FOR ARTICLE HI "THRESHOLD" JURISDICTIONAL SHOW
CAUSE      ORDER      AND       OTHER       RELIEFS-BINDING
PRECLUSIVE EFFECTS OF RULE 4l(a)((2) FINAL JUDGMENT.

Respeclfully submitted,
Isl Ulysses T. Wart
~scs     T. W,. (,Vtw"
Page~
Friday, Match 21, 2025
(17•11) (Part 17•11) re Appell.ants' Supplemental Memorandum of ltw (letter-brief) (#7) in Support of
Applic~tion for a Show Oiule Order, Stay of Briefing Schedule; and Other Reliefs.




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Cffice of Ulysses T. Ware                                                                                       ''
123 Linden Blvd, Ste 9-L                            ' .'                 NEW .YORK NY . iii> .
Brooklyn, NY 11226                                                                                     ..   ;



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Re: 03.18.25 Appellants ' Supp.Memo of Law (17-8)
25cv00613 (NDGA).
Req . for Show cause order,
appellate status conf., and
stay of briefing schedule
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                                     D              Office of the District Clerk
                                                    U.S. District Court (NDGA)
                                                    Richard B. Russell U.S. Courthouse
                                                    75 Ted Turner Drive, SW
                                                    Atlanta, GA 30303


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